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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:19-cv-01788-DME-NYW

   FRED NEKOUEE, individually,            :
                                          :
                    Plaintiff,            :
                                          :
   vs.                                    :
                                          :
   NORTH STAR FOODS, LLC, a Colorado      :
   limited liability company; and         :
                                          :
                    Defendant.            :
   _______________________________________:

                                    NOTICE OF SETTLEMENT

         Plaintiff, Fred Nekouee, by and through his undersigned counsel, hereby advises the

  Court that Defendant NORTH STAR FOODS, LLC has reached a settlement in principle with

  Plaintiff Fred Nekouee. Said parties expect to finalize the settlement in the next 21 days.



                                                        Respectfully submitted,

                                                        s/Robert J. Vincze
                                                        Robert J. Vincze (CO #28399)
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                                                        Email: vinczelaw@att.net

                                                        Attorney for Plaintiff Fred Nekouee


                                 CERTIFICATE OF SERVICE

          I certify that on July 10, 2019, I electronically filed the foregoing Notice with the Clerk
  of the Court using the CM/ECF system.
                                                        s/Robert J. Vincze (CO #28399)
